













Opinion issued March 24, 2005








In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-05-00130-CV
____________

BAKER CHEMICALS, INC., Appellant

V.

M-I, LLC, Appellee




On Appeal from the 190th District Court
Harris County, Texas
Trial Court Cause No. 2001-43058




MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant has filed a motion to dismiss its appeal.  The motion is not opposed
by opposing counsel.  No opinion has issued.  Accordingly, the motion is granted, and
the appeal is dismissed.  Tex. R. App. P. 42.1(a)(1).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.
PER CURIAM
Panel consists of Justices Taft, Alcala, and Higley.


